         Case 1:03-cv-02228-MCW Document 73 Filed 11/17/06 Page 1 of 1




                In the United States Court of Federal Claims
                                            No. 03-2228L
                                     (Filed November 17, 2006)

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                                                     *
HERITAGE MINERALS, INC., and                         *
HOVSONS, INC.,                                       *
                                                     *
                       Plaintiffs,                   *
                                                     *
               v.                                    *
                                                     *
THE UNITED STATES,                                   *
                                                     *
                       Defendant.                    *
                                                     *
* * * * * * * * * * * * * * * * * * * * * * ** * * * *
                              _________________________________

                                  SCHEDULING ORDER
                            _________________________________

       Pursuant to the request of the parties in their Joint Status Report filed with the Court on
November 17, 2006, the Court schedules a telephonic status conference for December 19, 2006,
at 10:30 A.M. During the status conference, the parties shall discuss settling quantum.




                                                     ____________________________________
                                                     MARY ELLEN COSTER WILLIAMS
                                                     Judge
